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                    UNITED STATES DISTRICT COURT

              FOR THE WESTERN DISTRICT OF WISCONSIN

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 DR. MICHAEL J. DUBIN,

                    Plaintiff,               Case No. 10-CV-035-WMC

       vs.

 BOARD OF MADISON AREA TECHNICAL
 COLLEGE DISTRICT and MADISON AREA                Madison, Wisconsin
 TECHNICAL COLLEGE - MADISON                      May 2, 2011
                                                  1:50 p.m.
                    Defendants.

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             STENOGRAPHIC TRANSCRIPT EXCERPT FROM
          FIRST DAY OF JURY TRIAL - AFTERNOON SESSION
            HELD BEFORE CHIEF JUDGE WILLIAM M. CONLEY

 APPEARANCES:

 For the Plaintiff:         FOX & FOX, S.C.
                            BY: RANDALL B. GOLD
                                 MICHAEL R. FOX
                            124 West Broadway
                            Monona, Wisconsin 53716

 For the Defendants:        GODFREY & KAHN, S.C.
                            BY: MICHAEL D. HUITINK
                                 THOMAS G. O’DAY
                                 NELSON W. PHILLIPS
                            780 North Water Street
                            Milwaukee, Wisconsin 53202-3590

 Also Present:              Terrance Webb, MATC




                    CHERYL A. SEEMAN, RMR, CRR
                     Official Court Reporter
                   United States District Court
                      120 North Henry Street
                    Madison, Wisconsin 53703
                          1-608-255-3821
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 1                                     ***

 2               MR. FOX:     We call Dean Delcourt adversely.

 3               THE COURT:      Thank you.     Could we arrange

 4    to -- thank you.       For the jury's benefit, witnesses

 5    are not allowed to sit in the courtroom until after

 6    they have testified, so that's why we have this brief

 7    delay between calling witnesses.

 8          Ms. Delcourt, you can come straight forward.               And

 9    just come forward.        And, if you would, raise your

10    right hand and be sworn by the clerk.             You may then

11    step around and be seated.

12               THE WITNESS:      Thank you.

13          VERONICA DELCOURT, PLAINTIFF'S WITNESS, SWORN

14               THE COURT:      Thank you.     You may proceed,

15    counsel.

16                          ADVERSE EXAMINATION

17    BY MR. FOX:

18    Q.    Please state your name for the record, please.

19    A.    Veronica Ann Delcourt.

20    Q.    And how are you currently employed?

21    A.    I'm not employed right now.

22    Q.    And you were employed while Michael Dubin was a

23    probationary faculty member in the History Department

24    at MATC; is that correct?

25    A.    Yes, I was employed then.

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 1    Q.    And you are the person who recommended that he

 2    not be renewed for his contract in the spring of 2009;

 3    is that correct?

 4    A.    Correct.

 5    Q.    And you were required, as part of the rules that

 6    apply to such a nonrenewal, to give a preliminary

 7    notice of the non-renewal listing, the specific

 8    reasons that you were advancing to support the

 9    nonrenewal, correct?

10               MR. PHILLIPS:       Objection.

11               THE COURT:      Foundation?

12               MR. PHILLIPS:       Foundation.

13               THE COURT:      You can testify as to what your

14    obligations were.

15    A.    My obligations were to let him know by a certain

16    deadline, prior to the end of his contract, about the

17    nonrenewal.

18    Q.    And in fact you were also aware that it was your

19    obligation that after you "let him know," as you call

20    it, "by the end of his contract" what the reasons were

21    that you were recommending that he no longer be

22    retained at the school that he was to be given a

23    chance to remedy whatever it is you found flawed in

24    his teaching at that point in time, correct?

25    A.    Correct.

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 1    Q.    And I'm going to show you, and it may be on your

 2    screen already -- is there a document on your screen?

 3    A.    Yes.

 4    Q.    -- it's Exhibit 14 in this matter and it's a

 5    January 27th letter addressed to Mr. Dubin and it's

 6    addressed, it's signed actually, by Ms. Torkelson; do

 7    you see that?

 8    A.    I do.

 9    Q.    And Ms. Torkelson was your sister-in-law?

10    A.    Not at the time.

11    Q.    Okay.    She is now?

12    A.    Yes.

13    Q.    Okay.    And as I understand it, she -- the process

14    that you followed was you gave her the information,

15    which she then put in the letter, informing Dr. Dubin

16    of the reasons that you had to recommend that he not

17    be continued anymore as a teacher at MATC; is that

18    correct?

19    A.    That's correct.

20    Q.    Now, you see that document is dated on the 27th

21    of January of 2009.        So given what you previously

22    testified to, Dr. Dubin was supposed to have until the

23    end of that semester to address the concerns you

24    raised in your letter, correct?

25    A.    That's correct.

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 1    Q.    And in fact if he showed improvements with regard

 2    to those concerns, he could turn around the decision

 3    to release the recommendation that you had to nonrenew

 4    him, correct?

 5    A.    That is correct.

 6    Q.    And that was part of the rules of supervision at

 7    MATC as you understood them, wasn't it?

 8    A.    That is correct.

 9    Q.    If somebody in fact remediated a perceived flaw

10    in their performance as a probationary faculty member,

11    that was not to be used to support a non-renewal

12    decision under the protocols then in existence at

13    MATC; is that correct?

14    A.    That's correct.

15    Q.    Okay.    And the incidents that you were to use, if

16    you used them, to support a nonrenewal were to be

17    those that were unremediated, right?

18    A.    I'm not sure I understand what you mean.

19    Q.    In other words, issues that you were going to go

20    to the Board and ask them to fire him over were issues

21    that he hadn't corrected, right; wasn't that the

22    protocol then in existence at MATC?

23    A.    Correct.

24               MR. PHILLIPS:       Objection as to foundation.

25               MR. FOX:     She can answer on the basis of her

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 1    knowledge.

 2               THE COURT:      Yeah.    It might make sense for

 3    you to lay a foundation for this witness generally,

 4    but I will overrule the objection.            You should testify

 5    as to your own personal knowledge.

 6    A.    Based -- the nonrenewal that we brought to the

 7    Board -- well, could you just repeat the question

 8    again?

 9    Q.    In the rules that existed at the time that you

10    were acting as the supervisor of Mr. Dubin, was your

11    understanding that if something was remediated -- in

12    other words, a flaw or a concern was remediated -- by

13    the person that you were supervising, it was not to be

14    used against them later for a nonrenewal, correct?

15    A.    Correct.

16    Q.    Now, prior to coming here today, you have given

17    testimony in this matter before, have you not?

18    A.    Yes, I have.

19    Q.    And in fact you gave testimony on two occasions

20    at some length, didn't you?

21    A.    Yes, I did.

22    Q.    And prior to giving that testimony, you were

23    aware that Dr. Dubin was challenging your

24    recommendation not to renew him for his faculty

25    position, correct?

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 1    A.      Correct.

 2    Q.      And prior to testifying in those depositions, you

 3    had the access to various lawyers that represented

 4    MATC, did you not?

 5    A.      I did.

 6    Q.      And those lawyers were able to prepare you for

 7    the depositions that you were going to take to let you

 8    know what was going on?

 9    A.      They did.

10    Q.      And that was not only true before the first

11    deposition, but it was true before your second

12    deposition; isn't that right?

13    A.      That is correct.

14    Q.      And in fact, and you can tell me if you recall

15    this, your first deposition was on September 22nd of

16    2010 and your second deposition was on October 28th of

17    2010?

18    A.      Correct.

19    Q.      And so you had over a month between the first

20    deposition when all of this material was being

21    inquired into before you took a second deposition

22    addressing much of the same subject matter, correct?

23    A.      Correct.

24    Q.      So you had a chance to think about --

25                THE COURT:     Counsel, I think we get the

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 1    point.

 2                 MR. FOX:     Well, this is important.

 3                 THE COURT:     It is important and you have made

 4    your point, counsel.

 5                 MR. FOX:     Okay.     Now you threw me off, Judge.

 6                 THE COURT:     I apologize for that.

 7                 MR. FOX:     No.     It's my own fault.

 8    BY MR. FOX:

 9    Q.    Do you recall that in the depositions you were

10    asked, with regard to the January notice that is on

11    the screen in front of you, which of those issues

12    Dr. Dubin had remediated after you gave him that

13    notice; do you recall that?

14    A.    I'm sorry.        I kind of missed the first part of

15    your question.

16    Q.    When you were under oath in the depositions --

17    A.    Yes.

18    Q.    -- do you recall being asked which of those

19    issues Dr. Dubin had remedied or remediated so they

20    would fall into that category of nonissues?

21    A.    I do remember us talking about these issues.

22    Q.    Right.     And you testified, did you not, that the

23    only issues you could recall that he had not

24    remediated by the end of the semester were the issues

25    that you identified as the -- what would be the third

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 1    bullet point, unreliable attendance, correct?

 2    A.    I don't really remember exactly what I discussed

 3    and finished with the remediation.             In terms of these

 4    four --

 5               MR. FOX:     I would ask that she not offer

 6    testimony.

 7               THE COURT:      That's fine.       You should just

 8    wait until he asks the question.             You are doing a very

 9    good job of answering the question that's asked.                Just

10    continue to do that.

11               THE WITNESS:        Thank you.

12               MR. FOX:     May I approach the witness, Your

13    Honor?

14               THE COURT:      You may.     Is it possible for you

15    to leave a copy of the deposition transcripts with the

16    witnesses rather than go back and forth?

17               MR. FOX:     I could do that, sure.

18               THE COURT:      Thank you.       And at this time,

19    counsel, I take it, you simply want to refresh the

20    witness's recollection --

21               MR. FOX:     Yes.

22               THE COURT:      -- as to what she testified?

23    Then you may do so.

24    BY MR. FOX:

25    Q.    I'm trying to find the page for you here.

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 1     A.    Okay.

 2                 MR. FOX:     Your Honor, excuse me a minute.

 3                 THE COURT:     Why don't you leave it and then

 4     you can just refer to it.

 5                 MR. FOX:     I want to make sure the same lines

 6     are on this.     It looks as if my copies have different

 7     lines on it, so I want to make sure I have the

 8     accurate thing.

 9                 THE COURT:     That's fine, counsel.        Just move

10     it along.

11                 MR. FOX:     Sorry.   It's my fault.

12     BY MR. FOX:

13     Q.    I'm going to direct your attention, and I will

14     leave this deposition with you, to page 421 of the

15     deposition.

16     A.    Okay.

17     Q.    And I want you actually to go to the bottom of

18     421 to line 19 and if you can read through line 19,

19     read through the next page of 422.

20     A.    To what line on 422?

21     Q.    Read the entire page of 422.

22                 MR. PHILLIPS:     Your Honor, I would object.

23                 THE COURT:     I think at this point he is

24     asking her to refresh her recollection.             There has got

25     to be a faster way to do it, but I will indulge you

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 1     for a moment.      Does either counsel have a copy of the

 2     deposition transcripts?        I wasn't provided with a

 3     copy.

 4                 MR. FOX:     The fastest way to do it is I --

 5                 THE COURT:     There are a lot of fast ways to

 6     do it; this isn't one of them, but I'm letting you do

 7     it.     Have you finished your review of that page?

 8                 THE WITNESS:     Yes, sir.

 9                 THE COURT:     Then would you please pose a

10     question, counsel?

11     BY MR. FOX:

12     Q.      Okay.   Do you recall being asked whether or not

13     you contended that Mr. Dubin had not remediated any of

14     the issues that were brought to your attention in the

15     January letter that's marked Exhibit 14?

16     A.      I do remember us talking about this.

17     Q.      Okay.   And wasn't it true, you were asked the

18     question of whether or not he had remediated and the

19     only issues you could identify that he hadn't

20     remediated were an issue with regard to timely

21     submission of grades and an issue with regard to his

22     attendance; isn't that what you identified under oath?

23     A.      At the time, that is what I identified.

24     Q.      And at that time you identified no other issues

25     that he had not remediated other than the attendance

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 1     and the failure to turn in timely grades, correct --

 2     A.      Correct.

 3     Q.      -- at that time?     And can you tell me, with

 4     regard to attendance, prior to the letter of January

 5     27th, had you ever told Mr. Dubin in writing that

 6     anything was faulty about his attendance?

 7     A.      I do not recall telling him in writing.

 8     Q.      Okay.   And prior to January 27th, had you asked

 9     him to remediate any part of his attendance?

10     A.      Prior to the 27th, I don't remember doing that.

11     Q.      So when we talk about remediate -- I'm referring

12     to your previous testimony -- remediate means he shows

13     improvement after you call it to his attention,

14     correct?

15     A.      Correct.

16     Q.      Can you tell the ladies and gentlemen of the jury

17     how many days Mr. Dubin missed from the time you gave

18     him the January notice and the time he was out of

19     MATC?

20     A.      I am not completely sure.       I think it was another

21     two days that spring semester.

22     Q.      You don't know whether it was one or two?

23     A.      I believe it was two, but -- I believe it was

24     two.

25     Q.      Did you take time to ascertain exactly whether or

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 1     not it showed improvement?

 2     A.    Pardon?

 3     Q.    Did you take time to determine whether or not his

 4     attendance in the spring semester showed improvement

 5     over anything that you had criticized him for?

 6     A.    What do you mean, at the end of his semester?

 7                THE COURT:     From January 27th through May --

 8                THE WITNESS:      Through May.

 9                THE COURT:     -- did you notice any

10     improvement; did you observe any improvement?

11     BY MR. FOX:

12     Q.    Did you measure that against what you were

13     criticizing?

14     A.    Well, it concerned me that he continued to take

15     time off, especially without coming to let me know

16     what was wrong.       I had no excuses about what might

17     have been the problem, especially when he knew that we

18     were -- that attendance was an issue.

19                MR. FOX:     I'm going to object to that as

20     nonresponsive.

21                THE COURT:     I think it was responsive,

22     counsel.    You should ask your next question.

23                MR. FOX:     Okay.    I will try again.

24     BY MR. FOX:

25     Q.    Did you make any comparison as to the amount of

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 1     time he took off in the semester as being greater or

 2     less than the time he had taken off, the frequency he

 3     had taken off, before?

 4     A.    I would say that would have been less time.

 5     Q.    Okay.    So he showed some improvement with regard

 6     to the frequency that he took off in the spring

 7     semester; is that correct?

 8     A.    I would say it was less time.           I don't know if

 9     that's improvement, but I would say it was less time

10     than he had taken prior to.

11     Q.    Well, if your concern was the amount of days that

12     he had taken off, if that was one of your concerns,

13     then taking off less time would be an improvement,

14     wouldn't it?

15     A.    I would just say it was less time.            It's very

16     difficult to call it improvement.           The problem is

17     reliability of attendance to be with students.

18     Q.    In order to really fully evaluate it and to be

19     fully fair, you would want to know why he took

20     whatever time you say he took off in the spring

21     semester.     Why did he take it off?

22     A.    I have no idea.

23     Q.    Did you ever make any effort to determine whether

24     there was sickness or he had health problems that

25     prevented his ability to attend?

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 1     A.    I did not.

 2     Q.    Did you ever make any attempt to compare his

 3     attendance in the spring semester of 2009 to everybody

 4     else's who may have been sick or absent for any

 5     reason?

 6     A.    No, I did not.

 7     Q.    Okay.    There were other people who were sick or

 8     absent in the spring semester of 2009?

 9     A.    I'm sure.

10     Q.    There were -- did you discipline any of those

11     people for their sicknesses or absences?

12     A.    I don't recall that.

13     Q.    Did Dr. Dubin take off any time that he was not

14     allotted under his contract, to your knowledge?

15     A.    No.

16     Q.    Okay.    Now, you said that the only thing, when

17     you were asked that question under oath, the only

18     thing you could remember was the grade problem.               What

19     was the grade problem that Dr. Dubin -- you claim he

20     had when you gave him that notice on January 27th?

21     A.    I'm not really sure I understand what you mean by

22     "grade problem."

23     Q.    Well, didn't you testify under oath in that

24     deposition, and in fact in the pages we have just been

25     referring to, that he didn't get his grades in on

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 1     time --

 2     A.      I see, I see.

 3     Q.      -- in the spring of --

 4                 THE COURT:    I'm sorry, ma'am.        You need to

 5     let him finish his questions.          The court reporter is

 6     trying to take this down and they can only do it one

 7     at a time, so why don't you let him finish his

 8     question and then you will have an opportunity to

 9     answer.

10     BY MR. FOX:

11     Q.      You appear to remember now.        Did you criticize

12     him for not getting his grades in prior to January

13     27th?

14     A.      I didn't criticize him; I talked to him about it.

15     Q.      Okay.   Isn't it true that the late grades were a

16     fairly widespread problem with many many different

17     faculty members?

18     A.      Missing grades, we -- the college gets a report

19     of the faculty who have not gotten their grades in by

20     a certain deadline.       And so when we get those grade

21     reports, missing grade reports, we contacted faculty

22     to find out if they have already gotten their grades

23     in or did they forget or is there a problem.

24                 THE COURT:    The question was, is it a fairly

25     widespread problem at MATC.

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 1                THE WITNESS:      Considering 400 faculty

 2     members, plus the part-timers, I would say it wasn't

 3     widespread, but there are some faculty members who

 4     don't get their grades in.

 5     BY MR. FOX:

 6     Q.    If I could, I will just leave with you Exhibit

 7     39.   And if you can take a look at that, could you

 8     tell us what that is?

 9     A.    This is a missing grades report from the Madison

10     Area Technical College.

11     Q.    And how many pages is that, can you tell?

12     A.    18, 19 -- 23?

13     Q.    And can you eyeball that and just give me a rough

14     estimate or give us a rough estimate of how many

15     faculty are listed on there as having missed grades?

16                MR. PHILLIPS:      Objection, Your Honor.         The

17     document does speak for itself.           If the witness wants

18     to count it --

19                THE COURT:     I will let her eyeball it.          If

20     you are able to give a rough estimate, you may.

21     A.    I would say there are dozens and dozens.

22     Q.    Maybe even hundreds?

23     A.    Maybe.

24     Q.    Okay.    And do you know of any of those

25     individuals who were disciplined in any way at MATC

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 1     for their missing grades?

 2     A.      I --

 3                    MR. PHILLIPS:     Objection, calls for

 4     speculation.

 5     A.      I wouldn't know.

 6                    THE COURT:   I will overrule it.      If you know,

 7     you may answer.

 8     A.      I wouldn't know.

 9     Q.      Okay.     Did you discipline anybody for missing

10     grades?

11     A.      Well, discipline or would I have discussed it

12     with them?        I would have contacted the arts and

13     sciences teachers.

14     Q.      Well, let me define my term discipline.           You

15     would agree with me that terminating somebody from

16     their employment is a form of negative action on your

17     part.     Did you take any similar negative action with

18     any other faculty member for missing grades?

19     A.      No, I did not.

20     Q.      Did you take any type of disciplinary action

21     where you took a privilege away or put a letter of

22     warning in a file or said, "You will be in trouble the

23     next time you do it.           I'm putting this in your file,"

24     anything like that?

25     A.      There were no written notices.

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 1     Q.    Okay.    So of all of those, whether it's hundreds

 2     or more, there is not even a written notice in their

 3     file for missing grades, to your knowledge?

 4     A.    Not all of these teachers are arts and sciences

 5     teachers, so I can't speak for teachers that came out

 6     of other centers, if they had anything written in

 7     their files.

 8     Q.    I'm just talking about the people to your

 9     knowledge.     That's why I ended the question with, "to

10     your knowledge," all of the people that had missed

11     grades that were under your supervision were not given

12     any kind of letter of reprimand or anything of that

13     nature?

14     A.    To my knowledge.

15                THE COURT:     I'm confused now.        Did you

16     provide a letter of reprimand or a specific notice

17     with a failure to provide grades to Mr. Dubin?

18                THE WITNESS:      In a letter that I wrote to

19     Dr. Dubin, I did talk about responding to staff

20     requests, and one of the requests is to get your

21     grades in on time.

22     BY MR. FOX:

23     Q.    Let me clarify that and follow it up because we

24     really want to understand what you are saying.               Did

25     you mention the word grades in that letter that you

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 1     just identified in response to the judge's question?

 2     A.      I would have to see the letter.         I don't recall

 3     if the word itself was in the letter.

 4     Q.      So as you sit here today, you do not recall

 5     whether you mentioned grades to Dr. Dubin in a letter

 6     or any kind of written communication in response to

 7     his question?

 8                 MR. PHILLIPS:     Objection, misstates the

 9     testimony.

10                 THE COURT:    I will sustain the objection.

11     You can rephrase it if you wish.

12     BY MR. FOX:

13     Q.      As you sit here today, you cannot recall any

14     writing to Dr. Dubin specifically mentioning grades?

15     A.      As I sit here at this moment, I cannot recall --

16     Q.      Okay.

17     A.      -- the grades, the word grades.

18     Q.      Well, we are here to -- you understand though

19     that we are here to find the specific reasons that you

20     recommended to terminate Dr. Dubin; you do understand

21     that?

22     A.      I do.

23     Q.      Okay.   But you did, as you have previously

24     testified -- I want to make sure the two things that

25     you could identify in your deposition were missing

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 1     grades for Dr. Dubin and absences that he didn't

 2     remediate, right?

 3     A.     Yes.

 4     Q.     And when were the grades due for the spring

 5     semester of 2009 that would have been missing as of

 6     the time he had already been terminated?

 7     A.     The grades are due a few days after the classes

 8     end, so I don't know the specific date.

 9     Q.     You don't even know, as you sit here today,

10     whether or not he would have been late with his grades

11     before or after he was terminated, do you?

12     A.     Well, yes, I do.        We were also given a notice

13     that Dr. Dubin hadn't gotten his grades in from the

14     Enrollment Center.          A woman wrote and let us know he

15     finally did go in to meet with her and brought her his

16     grades.

17     Q.     And when did that occur, what date, please?

18     A.     I don't know off the top of my head.

19     Q.     I have to know the date.        Did it occur before or

20     after whatever final decision was made to terminate

21     him?

22                   THE COURT:     I think her testimony is she

23     doesn't remember, counsel.

24                   MR. FOX:     She doesn't remember.     Okay.    I

25     wasn't sure that she said that.

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 1                THE COURT:     That's what her testimony was.

 2     BY MR. FOX:

 3     Q.    Now, I didn't -- do you recall -- I'm going to

 4     show you what has been marked as Exhibit 86 here in

 5     this proceeding, which take a look at that and I have

 6     a few questions for you about that.

 7                THE COURT:     You may pose your question,

 8     counsel.

 9     BY MR. FOX:

10     Q.    Do you recognize that letter being from a student

11     who initially had a problem with Dr. Dubin?

12     A.    I do.

13     Q.    Can you tell the jury what the date of that

14     letter is?

15     A.    August 24th, 2008.

16     Q.    So on August 24th, 2008, a student who had had a

17     problem earlier that year with Dr. Dubin wrote to you

18     and so that was information that you had with

19     regard -- that at least reflected on Dr. Dubin's

20     attempt to remediate a matter with a student, correct?

21                MR. PHILLIPS:      Objection, foundation.

22                THE COURT:     I will overrule it.        You may

23     answer.

24     A.    Correct.

25     Q.    And in fact that letter indicates that the

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 1     remediation embarked on by Dr. Dubin was remarkably

 2     successful, wasn't it?

 3     A.    Yes, it does.

 4                MR. FOX:     Okay.      I would like to show that to

 5     the jury, if I could.        She has indicated it's

 6     important.

 7                THE COURT:     I believe there is no objection.

 8                MR. PHILLIPS:        There is none.

 9                THE COURT:     And you may.

10                MR. FOX:     Is this visible?

11                THE JURORS:      Yes.

12                THE COURT:     Is there something in particular

13     you are referring the witness to, counsel?

14     BY MR. FOX:

15     Q.    I would like to refer you in this letter -- would

16     you agree with me that the letter explained to you

17     that the problems that she initially had with

18     Dr. Dubin were not only remediated, but he had become

19     her favorite teacher or one of her favorite teachers?

20     A.    Correct.

21     Q.    Now, she had sent you an earlier e-mail earlier

22     than that letter where she indicated to you that she

23     had been troubled by Dr. Dubin being late for his

24     class and she had cried and it seemed she was under a

25     great deal of stress, correct?

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 1     A.    Correct.

 2     Q.    And students, whether it's the fault of the

 3     faculty member or not the fault of the faculty member,

 4     are sometimes under stress and don't react very well

 5     to a classroom setting; that's not unusual, is it?

 6     A.    It happens.

 7     Q.    Okay.    And it also happens that as a result of

 8     other things in their life, other than the fact that

 9     they are having a troubled time with a teacher, that

10     it increases the stress on them, such as health

11     problems, for example?

12     A.    Correct.

13     Q.    You knew that this young lady who wrote this

14     particular letter had health problems, didn't you?

15     A.    Yes, I did.

16     Q.    And that the stress that she was experiencing

17     with Dr. Dubin was complicated by her significant

18     health problems with fibromyalgia, correct?

19     A.    Correct.

20                MR. PHILLIPS:      Objection, completely

21     speculative.

22                THE COURT:     We are asking now about this

23     witness's knowledge and you can answer as to your own

24     understanding.

25     A.    When she came to see me, she did say that.

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 1     Q.    Right.     She told you that whatever she was

 2     experiencing with Dr. Dubin was also complicated by

 3     various health problems she had, including

 4     fibromyalgia, right?

 5     A.    She told me she had fibromyalgia.            I don't know

 6     how it fit into her dealing with Dr. Dubin.

 7     Q.    Well, did you not testify that she told you the

 8     fibromyalgia added to her stress?

 9     A.    She did say that she had fibromyalgia.             If I

10     testified, fine, that it added to her stress, I may

11     have been paraphrasing.

12     Q.    Whether you are paraphrasing or not, she was

13     indicating there was another stressor on her other

14     than the fact that at least momentarily she and

15     Dr. Dubin weren't getting along?

16     A.    Correct.

17     Q.    And when she wrote you and when she wrote this

18     particular letter, did you check with her to see that

19     her stress had been completely relieved or that she

20     was truly feeling as was reflected in that letter or

21     did you accept the letter as truth on the face of it?

22     A.    I know Sabrina, so I did talk to her about her

23     health and she was feeling better.

24     Q.    Okay.    And isn't it true, however, that despite

25     the fact that you received that letter in August of

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 1     2008 and it reflected a remediation of a problem, at

 2     least a concern, in an interaction that Dr. Dubin had

 3     with a student, you forwarded Sabrina's earlier e-mail

 4     describing her stress as your support for firing

 5     Dr. Dubin?

 6     A.    I did.

 7     Q.    And when you forwarded the earlier e-mail in

 8     support of firing Dr. Dubin for this episode which you

 9     have now testified he remediated, you did not forward

10     that letter that is on the Elmo, did you?

11     A.    No, I didn't.

12     Q.    Nor did you inform anybody, when you forwarded

13     the negative news of the earlier e-mail from Sabrina,

14     did you inform anybody that this problem had been

15     remediated and that he was now one of her favorite

16     teachers?

17     A.    I don't recall that I did that.

18                 MR. FOX:     That's all I have for you.         Thanks.

19                 THE COURT:     Direct?

20                 MR. PHILLIPS:     Thank you, Your Honor.

21                            (DIRECT EXAMINATION)

22                 MR. PHILLIPS:     I don't have anything further.

23                 THE COURT:     All right.     Do you want to

24     redirect, readverse direct?

25                 MR. FOX:     I will do my best --

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 1                  THE COURT:     Understood.

 2                  MR. FOX:     -- from what I can remember.

 3                               CROSS-EXAMINATION

 4     BY MR. FOX:

 5     Q.    Let's go to that last topic.          The fact is that

 6     you were informed shortly after you came on board at

 7     MATC that Dr. Dubin had made a discrimination

 8     complaint in relation to his hiring; isn't that true?

 9     A.    No.

10     Q.    Well, let me show you then a document that's

11     labeled No. 54 and I want you to read that document to

12     see if that refreshes your recollection as to what

13     information you might have received shortly after you

14     came on board.      Do you see that document?

15     A.    I do.

16     Q.    Is that to you?

17     A.    It is.

18     Q.    And does that document contain an attachment

19     which refers to "Dubin complaint?"

20     A.    Yes.

21     Q.    And did you open the attachment and see what

22     complaint was enclosed?

23     A.    I would have opened the attachment to file it

24     electronically.         I know I didn't read it at this time.

25     Q.    I see.     So this was a faculty member named Janet

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 1     Stevens who sent you this document and this was a

 2     document that you say you got.            Why don't we -- let's

 3     describe the document.            In fact, why don't I put it on

 4     the monitor so we know what we are talking about here.

 5                  THE COURT:     This is something you intend to

 6     show the jury?

 7                  MR. FOX:     I do.

 8                  THE COURT:     Okay.

 9     BY MR. FOX:

10     Q.    This is Exhibit 54.           And would you agree with me,

11     ma'am, that that is a message that was sent from

12     you -- sent to you from Janet Stevens?

13     A.    Yes, that's correct.

14     Q.    And that -- hold on just a minute.            Yeah, it is

15     the document I wanted.            Do you see the message there?

16     It says "Subject:         A response more for the weekend

17     reading"; June 2007 e-mail to Strycker from Stevens

18     regarding Dubin complaint; do you see that?

19     A.    Yes.

20     Q.    That was sent to you on 8/24/2007, correct?

21     A.    Correct.

22     Q.    How long had you known Mike Dubin at that point?

23     A.    I don't know if we had even met at that point.

24     Q.    I don't think you did meet by that -- is it true

25     that you had not even met Mr. Dubin when you received

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 1     that?

 2     A.      It's likely I did not meet him.

 3     Q.      And isn't it true, ma'am, that you opened the

 4     attachment to that document?

 5     A.      Yes.

 6     Q.      And isn't it true that that involved one faculty

 7     member talking about what another faculty member had

 8     done concerning a discrimination complaint?

 9     A.      Yes.

10     Q.      And that therefore isn't it true, ma'am, that you

11     were alerted to the fact before you even met Mike

12     Dubin that he had filed a discrimination complaint

13     against MATC?

14     A.      I'm not really sure when I really learned the

15     details about that complaint.

16     Q.      I didn't ask about details, ma'am; I'm just

17     asking you about the fact, which I thought I heard you

18     deny, but I will ask it again.          Isn't it true, ma'am,

19     that you were alerted to the fact that he had filed a

20     discrimination complaint against MATC before you even

21     met the man?

22     A.      If this e-mail is that attachment that you are

23     talking about, then this would have been sent to me.

24     It doesn't mean that I was --

25     Q.      Well, do you know of any other e-mail that you

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 1     may have received that would have referred to "Dubin

 2     complaint?"

 3     A.    It doesn't mean that I was alerted.

 4     Q.    And do you know of any other complaint that he is

 5     alleged to have made other than a complaint of

 6     discrimination, ma'am?

 7     A.    No.

 8     Q.    So given that, isn't it likely true, ma'am, that

 9     this was about the discrimination complaint that he

10     filed?

11                  MR. PHILLIPS:    Your Honor, it's been asked

12     and answered.

13                  THE COURT:   You may answer that, but I do

14     think that we can move on at that point.

15     A.    Yes.

16     Q.    And that was before you did the first classroom

17     observation of Mr. Dubin, wasn't it?

18     A.    Yes.

19     Q.    So by the time you did the first classroom

20     observation of Mr. Dubin, you knew of his complaint,

21     did you not?

22     A.    Yes.

23     Q.    And the first classroom observation that you did

24     of Mr. Dubin was on December 6th of 2007, wasn't it?

25     A.    Yes.

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 1     Q.     And you showed us a document which contained your

 2     thoughts.     I hope I can remember what document that

 3     was.    Let's see if I can -- let me make sure I -- and

 4     I apologize for my disorganization.            I wouldn't get

 5     graded well on it.       Let's look at your exhibit.          This

 6     is Exhibit 4, it was shown to you, and those are

 7     Probationary Faculty Evaluation Summary notes by you,

 8     correct?

 9     A.     Correct.

10     Q.     Now, those notes aren't shared by you, those

11     notes on that document, meaning the document itself,

12     weren't shared by you with Mr. Dubin?            You didn't show

13     him the document you wrote, did you?

14     A.     No.

15     Q.     And as a matter of fact, so he didn't see how it

16     was that you had characterized his teaching

17     performance on that document that you have now

18     testified to, did he?

19     A.     No.

20     Q.     But you did have a conversation with him then

21     following your making of that document and that

22     conversation occurred on December 14th of 2007,

23     correct?

24     A.     Correct.

25     Q.     And in that 2007 -- when you had that

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 1     conversation with him, was that the first office

 2     conversation that you had with him?

 3     A.    Was that the first -- pardon?

 4     Q.    Office conversation you had with him, meeting.

 5     A.    Yes.

 6     Q.    Okay.     So the very first.      So this was an office

 7     conversation you had with him after you received the

 8     information we have shown you about the discrimination

 9     complaint, correct?

10     A.    Correct.

11     Q.    And in that office conversation with Mr. Dubin,

12     did Mr. Dubin bring up the subject of the fact that he

13     had filed a complaint?        That's a yes or no question.

14     Did he bring up that subject?

15     A.    No.

16                  MR. PHILLIPS:    Your Honor, I would object to

17     counsel characterizing the way she should respond.

18                  THE COURT:   I will overrule the objection.

19     You may continue.

20     BY MR. FOX:

21     Q.    Okay.     So you brought up the subject, right?

22     A.    Well, I have made a mistake here.            This was the

23     second meeting that we would have had.             We had a

24     meeting prior to, probably in September, when he came

25     to my office.      It wasn't about his classroom

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 1     observation.      I don't remember the actual nature for

 2     why we were meeting, but I do remember telling him at

 3     that point that I was familiar that he had had a

 4     complaint in the past and that I wanted to move

 5     forward.    This was not the same meeting.

 6     Q.    I see.     So this was another meeting that you had

 7     with him.      You had a meeting with him in December and

 8     it's your testimony that at the meeting in December

 9     you didn't bring up the complaint --

10     A.    Correct.

11     Q.    -- is that right?          You didn't even mention the

12     complaint in the meeting in December?

13     A.    Correct.

14     Q.    You didn't tell him it had any effect on the way

15     that you were evaluating him in the classroom?

16                 THE COURT:     Counsel, this has been asked and

17     answered now.

18                 MR. FOX:     Okay.

19     BY MR. FOX:

20     Q.    But at that meeting you told him that you were

21     going to give him a document called a Performance

22     Improvement Letter; is that correct?

23     A.    Performance Improvement Letter?

24     Q.    I don't know if I have the exact -- a Process

25     Improvement Letter, is that the real title for it, a

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 1     Process Improvement Letter?

 2     A.    A Professional Growth Plan Improvement?

 3                THE COURT:     The letter that you ended up

 4     sending after this meeting, did you have a name for

 5     it?

 6                THE WITNESS:      It was just a performance

 7     improvement.

 8     BY MR. FOX:

 9     Q.    Didn't you testify in your deposition it was

10     called a Process Improvement Letter and it was the

11     only one that you had ever issued?

12     A.    I probably just got the wording wrong.             It was

13     about performance improvement.

14     Q.    So you previously testified it was a Process

15     Improvement Letter, it was the only one that you

16     issued, but you were mistaken?

17                THE COURT:     That's compound, counsel.          Could

18     you break it down?

19     BY MR. FOX:

20     Q.    Okay.    You previously testified that it was a

21     Process Improvement Letter, didn't you?

22     A.    I don't know.

23     Q.    And you previously testified that it was the only

24     one that you had ever issued, didn't you?

25     A.    I don't know.

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 1     Q.    It was in fact the only Process Improvement

 2     Letter that you issued, wasn't it?

 3     A.    No.   I gave a letter to Julia Haseleu about

 4     performance improvement.         I gave a letter to Michael

 5     about performance improvement.

 6     Q.    And now you referred to the document that we have

 7     marked as Exhibit 26 and Exhibit 26 is a document that

 8     you prepared after you had discussions with Mr. Dubin

 9     and he suggested to you what it was that he would do

10     to address some of the issues that you had raised on

11     December 14th, correct?

12     A.    Correct.

13     Q.    And you then, in your own words, capsulized his

14     responses on a letter that once again went to him with

15     what you believed to be his responses in terms of how

16     he was going to improve, right?

17     A.    No, no.    I wrote up this letter with his

18     responses, but I showed it to him to make sure that it

19     was an accurate depiction of his responses and then I

20     gave it to him.

21     Q.    And at that time when you talked to him about

22     whether it was an accurate depiction of his responses,

23     did you tell him that any of his responses to the

24     concerns you raised were improper or in any way

25     problematic?

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 1     A.    No.

 2     Q.    And in the parlance of your evaluation system,

 3     what he proposed to do was called a remediation

 4     effort, correct?

 5     A.    Correct.

 6     Q.    And if in fact he remediated the concerns that

 7     you had addressed in that particular letter, that was

 8     not to be used against him with regard to a

 9     non-renewal recommendation; isn't that true?

10     A.    That is true.

11     Q.    And yet you say at the bottom of the letter that

12     the letter is going to be kept in his file and will be

13     part of his non-renewal file?

14     A.    Nonrenewal --

15     Q.    I will read it to you.         "As with this first

16     letter, please note that this letter is only meant to

17     document my concerns and that no action is being taken

18     at this time.      This letter will be filed and kept as

19     supporting documents for final review at the end of

20     your probationary period."         So that letter was kept to

21     supply to someone if you recommended renewal or you

22     recommended nonrenewal, right?

23     A.    Right.

24     Q.    And that's despite the fact that it wasn't

25     supposed to if he remediated --

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 1                 THE COURT:     It's been asked and answered,

 2     counsel.

 3                 MR. FOX:     Okay.

 4     BY MR. FOX:

 5     Q.    One of the things that you talked about in

 6     somewhat of a critical manner was the fact that

 7     Dr. Dubin had chosen to teach classes at Edgewood?

 8     A.    That's correct.

 9     Q.    And isn't it true that one of the things that was

10     happening as a result of Dr. Dubin teaching classes at

11     Edgewood was that Edgewood students were coming over

12     to MATC to take some of his classes at MATC?

13     A.    I wouldn't know that.

14     Q.    Did you ever ask him about that?

15     A.    No.

16     Q.    Did you ever ask him anything about what he

17     thought the advantage of teaching at Edgewood was?

18     A.    No.

19     Q.    After he told you that he was going to switch his

20     scheduling over at Edgewood so that he was going to

21     have an extra half hour or whatever it was to get out

22     of the parking lot and transfer back and forth between

23     the two schools, run back and forth for his teaching

24     duties, did you ever tell him that that wasn't enough?

25     A.    No.

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 1     Q.    Did you ever tell him, at least as I understood

 2     you to suggest today, that there was too much time --

 3     in your mind, it would take too much time to get out

 4     in the parking lot and go from one school to another

 5     after he adjusted his schedule as he did?

 6     A.    I told him it was still a concern, that 45

 7     minutes was still a concern for me.

 8     Q.    When did you tell him that?

 9     A.    When we discussed it at his meeting about the

10     letter.

11     Q.    And refer to the documentation where you said

12     "It's still a concern to me despite your having

13     changed your schedule."        Please point out the

14     documentation of that.

15     A.    It isn't documented.

16     Q.    Okay.    Now, in addition to, as part of the

17     faculty assessments -- and there are a number of

18     things to go over here, but I'll -- one of the things

19     I want to get to as quickly as I can is this paragraph

20     that you were shown.        Now, that is the paragraph that

21     you claim was used to support your recommendation that

22     Dr. Dubin not be renewed because of his absences,

23     correct?

24     A.    Correct.

25     Q.    And you have already testified that to the extent

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 1     that you notified him of his absences, you did so on

 2     January 27th in your letter that said his absences

 3     were a problem, correct?

 4     A.    Correct.

 5     Q.    The paragraph doesn't contain any information

 6     post January 27th, 2009, does it?

 7     A.    No.

 8     Q.    Do you want to look at it?

 9     A.    No, it does not.

10     Q.    Does it tell anybody that he has done anything at

11     all in the spring semester with regard to improving

12     his absences or not improving his absences as you

13     expected him to do after you gave him notice?

14     A.    It does not show that.

15     Q.    Why wouldn't you tell people -- why wouldn't you

16     go look to see what the accurate figures were with

17     regard to his absences in order to give a full picture

18     of whether or not he had improved as you had asked him

19     to do?

20                 MR. PHILLIPS:     Objection, misstates her

21     testimony.

22                 MR. FOX:    I will withdraw that.        I will

23     withdraw the question.

24     BY MR. FOX:

25     Q.    Did you in fact, before that paragraph was sent,

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 1     go and get the accurate number of absences that he had

 2     in the spring semester, you yourself confirm them and

 3     see to it that the paragraph was supplemented with

 4     those absences?

 5     A.    No, I didn't.

 6                 MR. PHILLIPS:     Actually, puts facts in the

 7     record that aren't there.

 8                 THE COURT:     I will sustain the objection.

 9     BY MR. FOX:

10     Q.    Okay.    I'm sorry.     I was referring to the

11     absences in the spring semester of 2009.             Are there

12     any absences in the spring semester of 2009 on the

13     paragraph?

14                 THE COURT:     Is it spring of 2009?

15                 MR. FOX:     Spring semester of 2009.

16     A.    No.

17                 THE COURT:     And was that data available?          In

18     other words, had the spring semester been completed?

19                 THE WITNESS:     No.

20     BY MR. FOX:

21     Q.    But was the data with regard to how many times he

22     had been absent up to the point where it was

23     submitted?     In other words, how he had improved in the

24     spring semester, as you asked him to do, was that

25     available?

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 1     A.    Yes.

 2     Q.    Now, part of the evaluation process that you --

 3     that was standard operating procedure at MATC was for

 4     the faculty member to do a Professional Growth Review

 5     and Self-Assessment form, correct?

 6     A.    Correct.

 7     Q.    And did Mr. -- did Dr. Dubin prepare those types

 8     of assessment forms and present them to you and

 9     discuss them with you?

10     A.    Yes, he would have done that.

11     Q.    And did you sign off on those self-assessment

12     forms?

13     A.    I would have done that.

14     Q.    And in signing off, did you add any notes as to

15     why what he was viewing as his own performance was in

16     any way inaccurate?

17     A.    If it was, I would have made notes of it.

18     Q.    And you would have not let him get away with a

19     self-assessment where he thought he was deluding

20     himself, would you?

21     A.    No.

22     Q.    Now, with regard to the student surveys, I want

23     to get that down because we have had some testimony

24     that those are collected by the administration or at

25     least the data is synthesized by the administration.

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 1     Excuse me.     I don't know if synthesized is the word.

 2     Let me withdraw the question and I will start again.

 3     How are the student forms where they give assessments

 4     of teachers distributed?

 5     A.      I don't really know that process.

 6     Q.      That's all I want to know, if you don't know

 7     that.    How is the data that the students give back,

 8     the feedback that they give back, how is that

 9     collected?

10     A.      It's sent to the teachers and the teachers are

11     supposed to bring them to me.

12     Q.      Is it sent to the teachers in raw form?           In other

13     words, is it sent to the teachers in these types of

14     percentages?     I will put this, for your view, on

15     there.    The teachers receive these, somehow receive

16     this, as percentages like Exhibit 20?

17     A.      I said I really don't know.        I don't know how

18     they receive them.

19     Q.      Well, isn't it true, ma'am, that administration

20     keeps track of these surveys in order to monitor what

21     students think of their -- the various classes being

22     taught at MATC?

23     A.      Not as you would expect.

24     Q.      Well, I'm -- at MATC, isn't it true that the

25     administration, that this isn't a tool that was

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 1     developed by administration to give them feedback on

 2     faculty performance?

 3     A.    Yes.

 4     Q.    Did you ever ask anybody from administration to

 5     see the surveys that pertained to Dr. Dubin?

 6     A.    No.

 7     Q.    Did you ever try to compare the surveys that

 8     pertained to Dr. Dubin with the surveys that pertained

 9     to other faculty members, probationary faculty

10     members, who were supposed to be treated the same way?

11     A.    No.

12     Q.    Do you know how Dr. Dubin at all compares, in

13     terms of his performances perceived by the student on

14     these surveys, with other faculty members?

15     A.    No.

16     Q.    The fact is, he compares quite favorably, doesn't

17     he?

18     A.    I don't know.

19     Q.    But the students surveys are one of the

20     instruments that the collective bargaining agreement

21     directs you to take into account?

22     A.    For probation?

23     Q.    For probationary faculty evaluation.

24     A.    It asks for all student assessments.             The surveys

25     are not the only way we would assess students.

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 1     Q.    Is the survey a student assessment?

 2     A.    One of them.

 3     Q.    Okay.    So if it asks for all student assessments,

 4     that would be included in the term all student

 5     assessments?

 6     A.    It asks for student assessments.

 7     Q.    And did you ever tell Mr. Dubin, "Gees, you are

 8     not bringing them to the meeting.           Bring them to me

 9     next Friday because I really want to see how the

10     students, as a whole, are viewing it"?

11     A.    When I meet with them about their classroom

12     observations, I do ask, if they don't bring them, I do

13     ask all probationary faculty to bring them.

14     Q.    Can you ever tell me an instance where Dr. Dubin

15     came to you, as you claim, and he didn't have his

16     faculty assessments, where you told him, "Dr. Dubin,

17     get your faculty assessments from the administration

18     or wherever you get them from and then bring them to

19     me next Wednesday"?

20     A.    Yes, I would have done that.

21     Q.    And have you ever documented, in any of the

22     writings you have done, that he missed a meeting with

23     you where you had asked him to bring these student

24     assessments and he didn't bring them?            Do you have a

25     document that you know of that says that?

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 1     A.    My documentation of the student assessment

 2     summaries, that bottom line that says they didn't

 3     bring them in would be my cue that I would have asked

 4     the faculty member to bring them to me.

 5     Q.    Well, what you are talking about is that you

 6     asked them to bring them at the meeting you had.               I'm

 7     talking about if they didn't bring them and you asked

 8     them to bring them at a later date.

 9     A.    That is what I'm saying.

10     Q.    Okay.    When can you point out that Dr. -- you

11     said a later date for Dr. Dubin to bring the

12     assessment.      You tell me when you did that and when he

13     failed to bring them in in accordance with your

14     directive.

15     A.    I would have asked Dr. Dubin just to get his

16     student assessments to me sometime that semester soon.

17     I wouldn't have given him a specific date.

18     Q.    Well, let's -- maybe I will approach it this way:

19     You put the reasons in your January 27th letter why

20     you were recommending that he not be renewed, right?

21     A.    Correct.

22     Q.    And you supplied the information supporting your

23     recommendation to the Board, including all the

24     documentation and all the reasons that you have,

25     right?

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 1     A.     Right.

 2     Q.     You did not say in the letter of January 27th

 3     that Dubin had in any way not brought his student

 4     assessments to you, did you?

 5     A.     No.

 6     Q.     You did not tell the Board that you were voting

 7     to nonrenew him or critical of him in any way because

 8     he failed to bring student assessments to you, did

 9     you?

10     A.     No.

11     Q.     By the way, just to put this in perspective, with

12     regard to complaints about faculty, isn't it true that

13     you have testified that 20% of the faculty members

14     experience student complaints?

15     A.     I don't know if I said that or not.

16     Q.     Not only did you say that, didn't you say it was

17     not uncommon for faculty members to get student

18     complaints?

19     A.     It is not uncommon.

20     Q.     And that's because students can differ with

21     faculty about the curriculum or style and sometimes it

22     may be the faculty member's fault and sometimes it's

23     the student's fault, correct?

24     A.     Correct.

25     Q.     For example, if a student doesn't show up for an

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 1     exam or doesn't pick up an exam, that is something at

 2     least you should hold the student accountable for,

 3     shouldn't you?

 4     A.    Yes.

 5     Q.    Now, you indicated in response to the questions

 6     that you were asked by your counsel that you did

 7     receive communications from some faculty members

 8     indicating that they were supportive of Dr. Dubin and

 9     that they believed him to be a good colleague,

10     correct?

11     A.    Correct.     Yes.

12     Q.    And you forwarded those, along with your

13     criticism of his, with his --

14                  MR. GOLD:    I apologize.

15     BY MR. FOX:

16     Q.    -- you forwarded those, didn't you, along with

17     your criticisms so that whoever was going to get your

18     recommendation of renewal got a balanced view as to

19     what Dr. Dubin's true relationships were with the

20     faculty, right?

21     A.    I don't really understand the question.

22     Q.    Did you forward any of the good news, with regard

23     to Dr. Dubin's faculty relationships that was sent to

24     you, to anybody who was considering whether or not to

25     approve your renewal --

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 1     A.     No.

 2     Q.     -- or nonrenewal recommendation?          And did you not

 3     do so for the same reason that you didn't forward the

 4     letter from Sabrina indicating that Dr. Dubin had

 5     become one of her favorite teachers and had remedied

 6     all the problems?

 7     A.     Not for the same reason, no.

 8     Q.     Now, with regard to a number of things --

 9                  MR. FOX:     No.   Actually, that's it.      Thank

10     you.

11                  THE COURT:     Thank you, counsel.      Brief

12     redirect, if you would like.

13                         (REDIRECT EXAMINATION)

14            (Conclusion of transcript excerpt.)

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 1                I, CHERYL A. SEEMAN, Certified Realtime and

 2     Merit Reporter, in and for the State of Wisconsin,

 3     certify that the foregoing is a true and accurate

 4     record of the proceedings held on the 2nd day of May,

 5     2011, before William M. Conley, Chief Judge of the

 6     Western District of Wisconsin, in my presence and

 7     reduced to writing in accordance with my stenographic

 8     notes made at said time and place.

 9     Dated this 3rd day of May, 2011.

10

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14

15                                        /s/

16                                  Cheryl A. Seeman, RMR, CRR
                                    Federal Court Reporter
17

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